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                Exhibit 15
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Smith,Daniel A

From:                 please-do-not-reply@ufl.edu
Sent:                 Friday, October 15, 2021 10:51 AM
To:                   Smith,Daniel A; AUSTIN,SHARON D
Subject:              DOI00020370 UFOLIO Disapproved




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UFOLIO Disclosure Disapproved

Disclosure:                             DOI00020370

Discloser:                              Sharon Austin

Department:                             LS-POLITICAL SCIENCE

Entity:                                 Advancement Project

Disclosure Type:                        Legal Consulting


Gary Wimsett reviewed the above referenced disclosure and disapproved this request.

Comments: Reasons:

Impermissible Conflict of Interest

UF will deny its employees’ requests to engage in outside activities when it determines the activities are adverse to its
interests. As UF is a state actor, litigation against the state is adverse to UF’s interests.

Gary Wimsett
Assistant Vice President, Conflicts of Interest

Click here to access the disclosure.




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